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Via CM/ECF

June 25, 2019
Honorable Janet Bond Arterton
United States District Judge
Richard C. Lee United States Court House
141 Church Street
New Haven, Connecticut 06510

Re: ConfigAir v. Kurz, Lead Docket No. 3:17-cv-02026

Dear Judge Arterton:

We are counsel to ConfigAir, LLC, Plaintiff/Counterclaim Defendant in the matter captioned
ConfigAir LLC v. Henry Kurz, Lead Docket No. 17-cv-2026.

We write in response to the request of Defendant Henry Kurz (“Kurz”) and Plaintiff Henry Kurz
Consulting GmbH (“HKC”) to alter the deposition schedule Ordered by this Court.

While we think it unnecessary to delve into Kurz’s counsel’s recitation of who called whom, and
who emailed whom at what point in time, the bottom line is ConfigAir provided Kurz’s third
counsel of record with proposed dates for his deposition and dates for HKC’s deposition. As the
Court may recall, these depositions had originally been scheduled, and confirmed, to take place
the week of June 3. During the May 29, 2019 telephone conference with the Court and Kurz and
HKC’s prior counsel, ConfigAir agreed to adjourn those dates as Kurz and HKC’s counsel was
withdrawing from their representation. (Their now current attorney was not available, and did
not participate, in that telephone conference). During that conference call at ConfigAir’s request,
the Court ordered that both Kurz and HKC appear for their adjourned deposition on or before
July 12, and that was memorialized in this Court’s May 29, 2019 Scheduling Order.

Now, as expected, Kurz’s third attorney wants additional time as the various dates ConfigAir
offered are inconvenient, and apparently the cost of Kurz’s travel is now at issue. Given that
HKC (of which Kurz is the sole member) initiated a lawsuit in the Unites States District Court,
District of Connecticut, and has availed himself of this Court’s time and resources, and Kurz is
the primary defendant, his complaints that he should not have to inconvenience himself with
travel ring hollow.

ConfigAir is not required to schedule depositions by Skype or to do the depositions back to back.
If the Court is inclined to entertain HKC/Kurz’s motion and further delay, ConfigAir respectfully
requests that the Court Order that Henry Kurz’s deposition be held on July 26, 2019 and that


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HKC’s deposition be Ordered to take place on August 5, 2019, and that no further adjournments
be had.

Respectfully submitted,



Rebecca Brazzano

cc:    Counsel of Record
